Case 9:02-cr-00012-RC-KFG          Document 261        Filed 03/03/11      Page 1 of 2 PageID #:
                                           139




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                  LUFKIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §    CASE NO. 9:02-CR-12
                                                §
JEFFREY JONES                                   §

                      MEMORANDUM ORDER ADOPTING
         FINDINGS OF FACT AND RECOMMENDATION ON PLEA OF TRUE

       The Court referred this matter to United States Magistrate Judge Keith F. Giblin, at

Beaumont, Texas, for consideration pursuant to 28 U.S.C. § 636(b) and the Local Rules for the

United States District Court for the Eastern District of Texas. In accordance with 18 U.S.C. §

3401(i) and 18 U.S.C. § 3583(e), Judge Giblin held a hearing and submitted findings of fact and a

recommendation on the revocation of the defendant’s supervised release.

       Having conducted the proceedings in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 and 18 U.S.C. § 3583, the magistrate judge issued his Findings of Fact and

Recommendation on Plea of True [doc. #260]. The magistrate judge recommended that the Court

revoke the defendant’s supervised release and impose a term of imprisonment for the revocation with

no additional supervision to follow.

        The parties have not objected to Judge Giblin’s report, and the defendant waived his right

to be present and allocute at sentencing. Accordingly, after review, the Court concludes that the

Findings of Fact and Recommendation should be accepted.

       It is ORDERED that the Findings of Fact and Recommendation on Plea of True [doc. #260]

are ADOPTED. The Court finds that Defendant, Jeffrey Jones, violated conditions of his supervised


                                               -1-
Case 9:02-cr-00012-RC-KFG         Document 261        Filed 03/03/11     Page 2 of 2 PageID #:
                                          140



release. The Court accordingly ORDERS that the defendant’s term of supervision is REVOKED.

Pursuant to the magistrate judge’s recommendation, the Court ORDERS the defendant to serve a

term of eleven (11) months imprisonment for the revocation. No further term of supervised release

is ordered.



         So ORDERED and SIGNED this 3 day of March, 2011.




                                                      ___________________________________
                                                      Ron Clark, United States District Judge




                                              -2-
